              Case 2:08-cr-00474-WBS Document 135 Filed 09/02/11 Page 1 of 2

     Patrick K. Hanly (SBN 128521)
 1   980 9th Street, 16th Floor
     Sacramento, California 95814
 2   Telephone: (916) 773-2211
     Facsimile: (916) 449-9543
 3
     Attorney for Defendant
 4   Behrooz Badie
 5

 6

 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                             )   Case No: 08-474 EJG
                                                           )
11                  Plaintiff,                             )   STIPULATION AND ORDER VACATING
                                                           )   CURRENT TRIAL DATE AND SETTING
12          vs.                                            )   NEW DATES AND EXCLUDING TIME
                                                           )   UNDER THE SPEEDY TRIAL ACT
13   DINO ROSETTI, and BEHROOZ BADIE,                      )
                                                           )   Date: 9-2-11
14                  Defendants.                            )   Time: 10:00 a.m.
                                                           )   Courtroom: Honorable EDWARD J. GARCIA
15                                                         )
                                                           )
16                                                         )
17

18
            Defendant Behrooz Badie, through his counsel of record, Patrick K. Hanly, defendant Dino
19
     Rosetti, through his counsel of record Mark Reichel, and plaintiff United States of America, through its
20
     counsel, Assistant United States Attorney Philip A. Ferrari, agree and stipulate that the current trial
21
     confirmation hearing date of September 2, 2011 and the current trial date of September 19, 2011 shall be
22
     vacated and in its place the Court shall set the following schedule:
23
            Trial Confirmation Hearing: September 9, 2011
24
            Trail: September 26, 2011
25
            This request is made to afford defense counsel additional time to consider a plea offer from the
26
     government made last week and to review over 400 pages of discovery provided by the government on
27
     Monday of this week. The defense is hopeful they can resolve the case without the need for a trial but
28
     need more time to go over the plea offer with their clients. The government has no objection to the


                                          Stipulation and Order Continuing Trial
              Case 2:08-cr-00474-WBS Document 135 Filed 09/02/11 Page 2 of 2

 1   requested continuance. The continuance is not sought for purposes of delay but to allow for effective

 2   trial preparation and careful consideration of a new plea offer from the government.

 3           The parties further agree and stipulate that time under the Speedy Trial Act should be excluded

 4   from the date of this stipulation until and including September 26, 2011 based upon 18 U.S.C. §3161 (h)

 5   (1) (d) and 18 U.S.C. §3161 (h) (7) (B) (iv), and Local Code T4,

 6
     Dated: August 31, 2011                              /s/ Mark Reichel__________________
 7                                                          Attorney for Defendant
                                                            Dino Rosetti
 8

 9   Dated: August 31, 2011                              /s/ Patrick K. Hanly__________________
                                                            Attorney for Defendant
10                                                          Behrooz Badie
11

12   Dated: August 31, 2011                                UNITED STATES ATTORNEY
13                                                 By: /s/ Philip A. Ferrari
                                                           Assistant United States Attorney
14

15
                                                     ORDER
16

17
             Based on the stipulation of the parties and good cause appearing there from, the Court hereby
18
     finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
19
     necessary for effective preparation, taking into account the exercise of due diligence. The Court
20
     specifically finds that the ends of justice served by the granting of such continuance outweigh the
21
     interests of the public and the defendant in a speedy trial. The Court also finds that time should be
22
     excluded for the filing of motions from the time the motions are filed until such time as the Court has
23
     ruled on the motions. Based on these findings and pursuant to the stipulation of the parties, the Court
24
     hereby adopts the stipulation of the parties in its entirety as its Order.
25
             IT IS SO ORDERED.
26

27           Dated: August 31, 2011                           /s/ Edward J. Garcia
                                                              HONORABLE EDWARD J. GARCIA
28
                                                              United States District Court Judge

                                         Stipulation and Order Continuing Trial                                2
